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 5                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
 6

 7    UNITED STATES OF AMERICA,
                                                   NO: 2:14-CR-21-RMP-21
 8                              Plaintiff,
            v.                                     ORDER TO DISMISS WITH
 9                                                 PREJUDICE

10    DYON L. BRAMLETT (21),

11                            Defendant.

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13         The Government has moved to dismiss the Indictment as to Defendant Dyon

14   L. Bramlett as a result of Defendant’s successful completion of a pretrial diversion

15   program. See ECF No. 2101. Pursuant to FED. R. CRIM. P. 48(a), the Court grants

16   the Government leave to dismiss the Indictment with prejudice. The Court makes

17   no judgment as to the merit or wisdom of this dismissal. Accordingly, IT IS

18   HEREBY ORDERED:

19         1. The Government’s Motion for Order of Dismissal With Prejudice, ECF

20               No. 2101, is GRANTED.

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     ORDER TO DISMISS WITH PREJUDICE ~ 1
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 1         2. The Indictment, ECF No. 1, with respect to Dyon L. Bramlett, is

 2            DISMISSED WITH PREJUDICE.

 3         The District Court Clerk is directed to enter this Order, provide copies to

 4   counsel, and CLOSE the file.

 5         DATED this 30th day of March 2017.

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 7                                        s/ Rosanna Malouf Peterson
                                        ROSANNA MALOUF PETERSON
 8                                         United States District Judge

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     ORDER TO DISMISS WITH PREJUDICE ~ 2
